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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

MONIKA PUCIATY,
Plaintiff,

vs. Case No.: 1:20-cv-526-JPH-DLP
LAWRENCE M. HEIL,

SOCIETY OF ST. VINCENT DE PAUL,
ARCHDIOCESAN COUNCIL

OF INDIANAPOLIS, INC.,

ABDUL A. ZALMAI and

1137254 ONTARIO LTD d/b/a
VIRDI TRUCKING COMPANY,

Defendants.

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STIPULATION OF DISMISSAL
Plaintiff, Monika Puciaty, by counsel, and Defendants, Lawrence M. Heil, Society
of St. Vincent de Paul Archdiocesan Council of Indianapolis, Inc., Abdul A. Zalmai and
1137254 Ontario Ltd d/b/a Virdi Trucking Company, by counsel, hereby stipulate that

the above-entitled cause of action be DISMISSED, with prejudice, costs paid.

RUBINO RUMAN CROSMER & POLEN WHITTEN LAW OFFICE

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By By.

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Attorneys for Plaintiff, Monika Puciaty d/b/a Virdi Trucking Company
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Council of Indianapolis, Inc.
